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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


Ocean Semiconductor LLC

             Plaintiff,
                                        Civil Action No. 1:20-cv-12311-PBS
v.

Infineon Technologies AG and Infineon
Technologies Americas Corp.,

             Defendants.




             DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
              MOTION TO STAY PENDING INTER PARTES REVIEW
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        Defendants Infineon Technologies AG and Infineon Technologies Americas Corp.

(together, “Infineon”) respectfully move the Court to stay this case pending inter partes review

(“IPR”) of the eight patents-in-suit. Each of the patents-in-suit are currently subject to an IPR

petition, and institution decisions for each pending petition are due to issue over the next three to

six months. A stay of this case while the IPR process unfolds is warranted as the three

traditional stay factors weigh heavily in favor of a stay. 1

        First, this case is at a very early stage. Fact discovery has not yet commenced, and the

initial scheduling conference is still a month away. Courts in this District routinely grant stays

pending IPR when, as here, they are filed before substantive litigation activities begin.

        Second, a stay has great potential to simplify the case given that all asserted claims of the

patents-in-suit have been challenged in the IPRs. As currently constituted, this is a highly

complex patent infringement suit involving eight largely unrelated patents, potentially 271

claims 2 across the eight patents, dozens of accused products, and a host of foreign third-parties

from whom discovery will be needed. Simply put, this is not the run of the mine patent case—it

is a highly complex case that will likely require the parties and the Court spending considerable

resources to navigate. Such expenditure of resources, however, may be entirely unnecessary. If

the PTAB institutes trials against the patents-in-suit and finds the asserted claims unpatentable

there will be nothing left for the parties or this Court to do. Even if some claims of some patents



1
  Alternatively, at a minimum, Infineon respectfully requests that the Court issue a short stay of
the case until the last of the pending institution decisions issues in late February or early March
of 2022. The Court could then determine whether to continue the stay based on the outcomes of
those initial decisions.
2
 Ocean’s current infringement allegations are largely premised on 35 U.S.C. § 271(g)—which
necessarily limits its allegations to the method claims of the asserted patents. Even if only the
method claims are potentially at issue, however, there are 128 claims across the eight patents that
are potentially at issue.


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survive, the IPRs will still simplify this case because the Court would benefit from the reasoning

behind any claim construction decisions made by the PTAB and any claims that do not survive

will be eliminated from the case entirely.

       Third, a stay will not unduly prejudice Ocean Semiconductor (“Ocean”), which seeks

only monetary relief and is a non-practicing entity that does not compete with Infineon.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       A.      The Pending Litigation

       Ocean filed its Complaint on December 31, 2020, and Infineon filed a motion to dismiss

the Complaint on April 26, 2021. Dkt. Nos. 1, 17. The Court is scheduled to hear argument on

Infineon’s motion to dismiss on September 29, 2021. Dkt. No. 29.

       In its Complaint, Ocean alleges Infineon infringes eight patents, only two of which are

related. 3 See, e.g., Dkt. No. 1 at ¶ 6. Although Ocean currently alleges that Infineon infringes

one claim from each patent 4, the eight patents have a collective 271 claims that Ocean could

eventually assert.

       Ocean’s infringement allegations for all eight patents are premised on Infineon and/or

third-party foreign foundries Taiwan Semiconductor Manufacturing Co. (“TSMC”) and United

Microelectronics Corp. (“UMC”) manufacturing dozens of different Infineon products using

certain manufacturing tools that other third-parties like Applied Materials, Inc. developed. See,

e.g., Dkt. No. 1 at ¶¶ 13 (defining “APC Products”), ¶¶ 103-122 (alleging infringement by same).


3
 The ’248 and ’305 patents share a common specification. The other six patents are all
unrelated.
4
 Dkt. No. 1 at ¶ 84 (“at least claim 19 of the ’651 patent”), ¶ 105 (“at least claim 1 of the ’402
patent”), ¶ 125 (“at least claim 1 of the ’305 patent”), ¶ 145 (“at least claim 1 of the ’248
patent”), ¶ 165 (“at least claim 1 of the ’097 patent”), ¶ 186 (“at least claim 19 of the ’330
patent”), ¶ 207 (“at least claim 1 of the ’691 patent”), ¶ 227 (“at least claim 1 of the ’538
patent”).


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This case is therefore unlike most typical patent suits in which the defendant possesses the bulk

of the evidence the plaintiff needs to prove its case—here, the vast majority of that evidence is in

the hands of third parties, including foreign third-parties like TSMC who likely must be served

through the complex Hague Convention process.

         In addition to suing Infineon, Ocean also sued Analog Devices, Inc. (“Analog Devices”)

in this District alleging that Analog Devices infringes all the patents-in-suit except for the ’097

patent. 5 Ocean also sued seven other companies in the Western District of Texas 6 and another

company in the Eastern District of Texas. 7 Trials in the Western District of Texas are set to

begin in December 2022 8, while a pre-trial conference in the Eastern District of Texas is

scheduled for August 2022. 9

         B.     The Pending IPRs

         After Ocean launched its infringement campaign, several companies began filing IPR

petitions against Ocean’s patents. As shown in the chart below, Western Digital—one of the

Western District of Texas defendants—filed petitions against two of the patents-in-suit this past

spring, while Applied Materials—a third-party provider of certain tools and software that form



5
    Ocean Semiconductor LLC v. Analog Devices, Inc., 1-20-cv-12310 (D. Mass.).
6
  Ocean Semiconductor LLC v. MediaTek Inc., 6-20-cv-01210 (W.D. Tex.); Ocean
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    Ocean Semiconductor LLC v. Huawei Device USA, Inc., 4-20-cv-00991 (E.D. Tex.).
8
 See, e.g., Ocean Semiconductor LLC v. MediaTek Inc., 6-20-cv-01210, Dkt. No. 32 (W.D. Tex.
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9
 Ocean Semiconductor LLC v. Huawei Device USA, Inc., 4-20-cv-00991, Dkt. No. 22 (E.D.
Tex. Aug. 3, 2021).


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the crux of Ocean’s infringement allegations—filed petitions against five additional patents on

August 3, 2021. 10 STMicroelectronics—another one of the Western District of Texas

defendants—filed the most recent petition on August 20, 2021 against the ’097 patent. With

STMicroelectronics’s most recent filing, all eight patents-in-suit are now subject to an IPR

challenge.

                                            Challenged        Filing     Institution
 Petitioner       Docket No.     Patent                                                   Status
                                             Claims           Date        Deadline
     Western                              19, 22, 73, 74-                                Pending
                 IPR2021-00864     ’651                   04/29/2021 11/20/2021
     Digital                              75, 77, 79, 81                                Institution
     Western                                                                             Pending
                 IPR2021-00929     ’330        19-21       05/18/2021 11/26/2021
     Digital                                                                            Institution
     Applied                                1-16, 18-26,                                 Pending
                 IPR2021-01339     ’538                    08/03/2021 02/12/2021
     Materials                                 28-31                                    Institution
     Applied                                                                             Pending
                 IPR2021-01340     ’402         All        08/03/2021 02/12/2021
     Materials                                                                          Institution
     Applied                                                                             Pending
                 IPR2021-01342     ’248         All        08/03/2021 02/19/2021
     Materials                                                                          Institution
     Applied                                                                             Pending
                 IPR2021-01344     ’305     1-25, 33-53    08/03/2021 02/19/2021
     Materials                                                                          Institution
     Applied                                                                             Pending
                 IPR2021-01348     ’691         1-19       08/03/2021         X
     Materials                                                                          Institution
                                                                            Feb. or
                                                                                         Pending
     STMicro     IPR2021-01349     ’097         1-17       08/20/2021        Mar.
                                                                                        Institution
                                                                            2021 11




10
  Although Applied Materials identified Infineon as a potential real party-in-interest to its five
petitions, Infineon was not involved in the preparation or filing of those petitions. Likewise,
Infineon was not involved in the preparation or filing of the other three petitions.
11
  As of the filing of this motion, STMicroelectronics’ petition had not yet been afforded a filing
date. An institution decision will be due no later than six months from the filing date, i.e., late
February or early March.



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        As shown above, decisions on the pending IPR petitions are due over the next 3-6 months

and could issue sooner. If instituted, final written decisions would be due within one year from

the institution date.

II.     LEGAL STANDARD FOR STAYING A PATENT CASE
        PENDING INTER PARTES REVIEW

        Courts have discretion in managing their own dockets, and are authorized to stay cases

“where appropriate, including during the pendency of an IPR before the PTO.” DiversiTech

Corp. v. Rectorseal, LLC, No. 20-11896-NMG, 2021 WL 2953324 at *1 (D. Mass. July 14,

2021) (granting stay); see also Irwin Indus. Tool Co. v. Milwaukee Elec. Tool Corp., No. 15-cv-

30005-MGM, 2016 WL 1735330, *2 (D. Mass. April 28, 2016) (granting stay). “Courts have

recognized a liberal policy in favor of granting motions to stay proceedings pending the outcome

of USPTO reexamination or reissuance proceedings.” Anza Tech., Inc. v. Toshiba Am. Elec.

Components Inc., 2018 WL 4859167, at *1 (N.D. Cal. Sept. 28, 2018) (quotation omitted); KAZ

USA, Inc. v. E. Mishan & Sons, Inc., No. 13-cv-40037-TSH, 2014 WL 3501366, at *2 (D. Mass.

July 9, 2014) (recognizing same liberal policy and granting stay).

        Courts consider three factors in deciding whether to stay a case pending resolution of an

IPR:

        (1) the stage of the litigation, including whether discovery is complete and a trial
        date has been set; (2) whether a stay will simplify the issues in question and the
        trial of the case; and (3) whether a stay will unduly prejudice or present a clear
        tactical disadvantage to the nonmoving party.

ACQIS, LLC v. EMC Corp., 109 F. Supp. 3d 352, 356 (D. Mass. 2015). “The analysis considers

the totality of the circumstances.” Id.




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III.    ARGUMENT

        A.       The Early Stage of this Litigation Strongly Favors a Stay

        “The earlier the stage of proceedings, the greater the reason to grant a stay.” Id. (quoting

SurfCast, Inc. v. Microsoft Corp., No. 12-cv-333, 2014 WL 6388489, at *2 (D. Me. Nov. 14,

2014)). This case is in its earliest stages. No schedule has been set, discovery has not yet

opened, no party has served contentions, claim construction proceedings have not begun, and a

trial is far in the future.

        Unsurprisingly, courts in this District have routinely found that the first stay factor

weighs heavily in favor of a stay when, as here, the proceeding is in its infancy. See, e.g., KAZ

USA, 2014 WL 3501366, at *4 (finding that case in “very early stages” “weigh[ed] heavily in

favor of granting the stay” where “[l]ittle discovery ha[d] taken place and the parties ha[d] yet to

exchange their claim constructions”); Irwin Indus. Tool, 2016 WL 1735330, at *3 (finding first

factor “weighs strongly in favor of granting stay” when “discovery has just begun, no Markman

hearing has been held, no claim construction pleadings have been filed or considered by the

court, and no trial date has been set”); Aplix IP Holdings v. Sony Comput. Ent., 137 F. Supp. 3d

3, 5 (D. Mass. 2015) (finding first factor weighed in favor of granting a stay where “discovery

has not occurred and the court has not set a trial date”); Teva Pharms. Int’l GmbH v. Eli Lilly &

Co., No. 18-cv-12029-ADB, 2019 WL 1767394, at *6 (D. Mass. April 22, 2019) (finding first

factor weighed in favor of granting a stay where “[t]he Court has not yet set a schedule for

discovery; no Markman hearing has taken place; summary judgment motions have not been

filed; no trial has been scheduled”); Bos. Heart Diagnostics Corp. v. Health Diagnostics Lab.,

Inc., No. 13-cv-13111-FDS, 2014 WL 2048436, at *2, *4 (D. Mass. May 16, 2014) (finding that

“very early stage” of litigation weighed in favor of a stay where discovery had not begun and no

dates had been set for a Markman hearing or trial and explaining that “[s]tays pending


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reexamination are routinely granted for cases in the initial stages of litigation”) (quotation

omitted).

       The early stage of the proceedings weighs strongly in favor of a stay.

       B.      The IPRs’ Potential to Simplify the Issues Strongly Favors a Stay

               1.      Regardless of Their Outcomes, the IPRs Have the Potential to
                       Simplify This Case

       There are eight patents-in-suit and potentially over 271 claims in this case. Granting

Infineon’s requested stay will reduce the burden on the parties and the Court because the IPR

proceedings have the potential to significantly simplify—indeed, potentially resolve entirely—

the issues in this case. ACQIS, 109 F. Supp. 3d at 358 (“IPRs are likely to simplify the issues in

this case, regardless of the[ir] specific outcomes.”).

       For example, there is a high likelihood that the pending IPRs may resolve the case

entirely by invalidating the asserted claims. See Exh. A at 12 (58% of PTAB’s final written

decisions thus far issued in FY21 have held all challenged claims unpatentable, i.e., 147 out of

253). Such a resolution will unquestionably simplify the case and weighs in favor of a stay.

Englishtown, Inc. v. Rosetta Stone Inc., 962 F. Supp. 2d 355, 360 (D. Mass. 2013) (citing PTO

“historical data” to conclude reexamination was likely to “reduce the number of issues for trial”);

Aplix IP, 137 F. Supp. 3d at 5 (“If the PTO finds all five patents invalid, the inter partes review

would simplify the case by rendering all of Aplix’s claims for infringement moot.”) (cleaned up;

quotation omitted); DiversiTech, 2021 WL 2953324, at *3 (recognizing IPRs challenging all

asserted claims present “the maximum potential for simplification of issues”) (quotation

omitted); Irwin Indus., 2016 WL 1735330, at *3 (“[T]he IPR ruling will eliminate the need for

any trial if all claims are canceled….”).




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       Even if only some of the challenged claims are invalidated, the case will still be

simplified. See Exh. A at 12 (21% of PTAB’s final written decisions thus far issued in FY21

have held some challenged claims unpatentable, i.e., 53 out of 253). The invalidated claims will

be eliminated from the case entirely. Moreover, statements Ocean makes during the course of

the IPR trial become part of the patent’s prosecution history and will shed further light on the

proper construction of any claims that are not invalidated, potentially streamlining the claim

construction process. Aylus Networks, Inc. v. Apple Inc., 856 F.3d 1353, 1361 (Fed. Cir. 2017)

(“[S]tatements made by a patent owner during an IPR proceeding can be considered during claim

construction and relied upon to support a finding of prosecution disclaimer.”); Irwin Indus., 2016

WL 1735330, at *3 (“[E]ven if most or all of the claims survive IPR, the PTAB's order will

facilitate trial by providing the court with the PTAB’s expert opinion and likely will clarify the

scope of the claims remaining for trial.”).

       Even in the low probability event that no claims are invalidated in a final written

decision(s), the Court will still benefit from the PTAB’s analyses and conclusions to streamline

any remaining invalidity issues. And the prosecution history benefits identified above will apply

as well.

                2.     The Potential for the IPRs to Simplify This Case Warrants Staying
                       the Case At Least Until the PTAB Issues Its Institution Decisions

       Ocean may suggest that the IPRs’ potential to simplify this case is speculative because

the PTAB has not yet issued institution decisions. Such a suggestion, however, ignores the

PTAB’s current per patent institution rate of 67%. Exh. A at 7.

       Moreover, courts in this District (and elsewhere) often stay cases prior to an institution

decision. See, e.g., Zond, Inc. v. Toshiba Am. Elec. Components, Inc., No. 1:13-cv-11581-DJC,

Dkt. 70 (D. Mass. Sept. 30, 2014) (granting pre-institution stay: “[T]he Court does not conclude



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that Zond will be prejudiced by a delay of a few months while there is a determination of

whether the IPR petitions will go forward; and the IPR matters, if instituted, will likely serve to

simplify the issues in this case. Accordingly, [i]n light of the pending IPR petitions and likely

timing of a decision about those matters moving forward, the case is stayed…”) 12; DiversiTech

Corp., 2021 WL 2953324, at *3 (granting pre-institution stay: “That the PTO has not yet made a

decision regarding whether to institute IPR does not significantly alter the analysis.”); Zond, Inc.

v. Intel Corp., No. 1:13-cv-11570-RGS, Dkt. 120 (D. Mass. April 18, 2014) (granting pre-

institution stay; “The Court believes that the IPR process will likely simplify and clarify the

dispute for the parties, and the Court will benefit from the expert claim analysis of the PTO.”);

see also NST Glob.., LLC v. SIG Sauer Inc., 19-cv-792-PB, 2020 WL 1429643, *4 (D.N.H.

March 24, 2020) (granting pre-institution stay and noting that “courts in numerous other districts

across the country have granted stays before IPR was instituted”); Provisur Techs., Inc. v.

Weber, Inc., 5:19-cv-06021-SRB, 2019 WL 4131088, *2 (W.D. Mo. Aug. 29, 2019) (granting

pre-institution stay; “[T]he Court finds the IPR proceedings’ potential impact is enough to await

at least the PTAB’s initial institution decisions before moving forward.”); Wi-LAN, Inc. v. LG

Elecs., Inc., 3:17-cv-00358-BEN-MDD, 2018 WL 2392161, *2 (S.D. Cal. May 22, 2018)

(granting pre-institution stay; “While review is not guaranteed and, therefore, the benefits of

review are only speculative at this juncture, in light of the Supreme Court’s mandate to review

all contested claims upon grant of IPR and the complexity of this case, the Court finds this factor




12
   In fact, in Zond the simplification was significant. The PTAB invalidated 240 claims across
six of the seven patents asserted in the district court litigation. No. 1:13-cv-11581-DJC, Dkt. 80
(D. Mass. Nov. 4, 2015). Consequently, the case settled shortly thereafter without the need to
litigate the remaining claims.


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weighs in favor of a limited stay of proceedings until the PTO issues its decisions on whether to

institute IPR.”).

        Courts granting pre-institution stays typically do so for two reasons that apply to this case

as well.

        First, “if IPR is not instituted, the stay will be short…and the case can move forward after

a relatively brief pause.” NST Glob., 2020 WL 1429643, at *4 (quotation omitted); Zond, Inc. v.

Toshiba Am. Elec. Components, Inc., No. 1:13-cv-11581-DJC, Dkt. 70 (D. Mass. Sept. 30, 2014)

(“[T]he Court does not conclude that Zond will be prejudiced by a delay of a few months while

there is a determination of whether the IPR petitions will go forward.”); Driessen v. Walmart

Inc., 514 F. Supp. 3d 122, 125 (D.D.C. 2021) (granting six-month pre-institution stay because

“even if institution of IPR is denied, a stay will be relatively short”) (cleaned up; quotation

omitted); Purecircle USA Inc. v. SweeGen, Inc., No. 18-cv-1679, 2019 WL 3220021, *2 (C.D.

Cal. June 3, 2019) (same). Here, any stay will likely be no more than six months long and if the

PTAB does not institute IPR proceedings against any of the patents, the case would proceed

forward. Given that Ocean seeks only monetary damages (infra Section III.C.2) and does not

compete with Infineon (infra Section III.C.3), the prejudice to Ocean from a short six-month stay

is minimal.

        Second, if the Court defers ruling on the stay until post-institution, “the parties and the

court will need to move through several labor-intensive stages of litigation that may ultimately

be rendered meaningless or duplicative.” NST Glob., 2020 WL 1429643, at *4; Zond, Inc. v.

Intel Corp., No. 1:13-cv-11570-RGS, Dkt. 120 (D. Mass. April 18, 2014) (“[A] a stay will

promote efficiency and economy as the Court and the litigants will be relieved of conducting a

costly and time-consuming analysis for present purposes that may well be nullified by the




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reexamination process.”); Purecircle, 2019 WL 3220021, at *2 (“Although courts in this District

have acknowledged the speculative nature of simplification where, as here, the PTAB has not yet

made an institution decision, many courts have ultimately been persuaded that the potential to

save significant judicial resources sways the analysis in favor of stay.”). Here, absent a stay, the

parties and the Court will need to engage in oral argument on Infineon’s motion to dismiss, will

likely need to exchange initial infringement and invalidity contentions, and may even need to

start the resource-consuming Markman process. “These efforts would be wasted if the PTO then

granted review and invalidated some of or all of the claims at issue.” NST Glob., 2020 WL

1429643, at *4.

       A short stay at least until the PTAB has issued its institution decisions is warranted.

       C.      A Stay Will Not Prejudice Ocean

       The third factor weighs “whether a stay will unduly prejudice or present a clear tactical

disadvantage to the nonmoving party.” Teva, 2019 WL 1767394, at *7 (quotation omitted).

Delay is inherent with any stay, and therefore “[a] party seeking to avoid a stay must establish

undue prejudice separate from the potential for delay, such as a dilatory motive on the part of the

party seeking a stay, unavailability of legal remedies once the stay is lifted, or the parties’

relationship as direct competitors in the marketplace.” Id. Each of these considerations supports

staying the case.

               1.      Infineon Was Diligent in Seeking This Stay

       Infineon was diligent in seeking a stay as it is filing this motion within a week after the

last of the patents-in-suit was challenged and less than a month after the majority of the patents-

in-suit were challenged. Cf. ACQIS, 109 F. Supp. 2d at 359 (finding motion to stay filed one

month after petitions were instituted was “timely”).




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       Moreover, although Infineon was not involved in preparing or filing the IPR petitions,

those petitions were nonetheless filed while this case was in its earliest stages thereby

underscoring the lack of dilatory motive behind Infineon’s stay request. See, e.g., Aplix IP, 137

F. Supp. 3d at 6 (finding stay appropriate where IPR was sought “while this litigation was in its

early stages”); Irwin Indus., 2016 WL 1735330, at *3 (same); Teva, 2019 WL 1767394, at *9

(granting stay where defendant “requested a stay at the outset of the litigation”).

               2.      Ocean’s Legal Remedies Will Remain Available If the Stay Is Lifted

       A stay is appropriate when “[t]here is no indication that the imposition of a stay at this

time will cause [a patentee] to lose any presently available legal remedies.” Teva, 2019 WL

1767394, at *8. Here, Ocean seeks only monetary damages which will be available even if the

case is stayed pending completion of the IPR process. Dkt. No. 1 at ¶ 7 (“[Ocean] seeks

monetary damages and prejudgment interest for Defendants’ past and ongoing direct and indirect

infringement of the Asserted Patents.”), pp. 77-78 (“Prayer for Relief”) (seeking only monetary

relief); ACQIS, 109 F. Supp. 2d at 358 (granting stay where plaintiff “has not identified any

reason why money damages would not suffice to compensate it for any harm incurred during the

stay”); Teva, 2019 WL 1767394, at *8 (“Any delay to a party’s recovery of monetary damages is

not meaningful where the prevailing party in patent cases may recover prejudgment interest.”)

(cleaned up; quotation omitted).

       Consistent with its focus on monetary damages, Ocean has not sought a preliminary

injunction, which “‘undermin[es] its claim of undue prejudice.’” Aplix IP, 137 F. Supp. 3d at 6

(quoting ACQIS, 109 F.Supp.3d at 358). Although not alone dispositive of the third stay factor,

courts routinely find a patentee’s failure to seek injunctive relief to be strong evidence that a stay

will not cause the patentee to suffer undue prejudice. E.g., Teva, 2019 WL 1767394, at *8

(“Teva has not sought a preliminary injunction. There is no indication that the imposition of a


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stay at this time will cause Teva to lose any presently available legal remedies, such as money

damages or the opportunity to obtain a declaratory judgment.”); NST Glob., 2020 WL 1429643,

at *5 (“I note that [patentee]did not request a preliminary injunction in this case. While failure to

seek a preliminary injunction is not, in and of itself, reason to completely disregard concerns

about prejudice, it is evidence of how serious [patentee] takes those concerns.”).

        That Ocean only seeks monetary—not equitable—relief and that such relief will be

available for Ocean to pursue regardless of a stay weighs in favor of a staying this suit.

                3.      Ocean Neither Practices the Patents-in-Suit Nor
                        Competes with Infineon

        In its Complaint, Ocean neither alleges it practices the Patents-in-Suit nor alleges that it

competes with Infineon in the market. Courts routinely find the absence of such facts

undermines a plaintiff’s claim of undue prejudice from a stay. See, e.g., ACQIS, 109 F. Supp. 3d

at 358 (finding plaintiff would suffer no undue prejudice from a stay where plaintiff “is a non-

practicing entity” that “does not participate in the market” for the accused products); Aplix, 137

F. Supp. 3d at 6 (same); Kannuu Pty Ltd. v. Samsung Elecs. Co., 19-cv-4297-DJR, 2021 WL

195163, *11 (S.D.N.Y. Jan. 19, 2021) (same); Bonutti Skeletal Innovations, L.L.C. v. Zimmer

Holdings, Inc., C.A. No. 12-cv-1107-GMS, 2014 WL 1369721, at *5 (D. Del. Apr. 7, 2014)

(holding that the plaintiff’s “status as a non-practicing entity, rather than a market participant,

suggests there is little risk that it will lose sales or goodwill in the market” if a stay is granted).

IV.     CONCLUSION

        A stay of this entire suit pending completion of the IPR process is warranted for the

reasons discussed above.

        Alternatively, Infineon respectfully requests that the Court (i) issue a short stay of the

entire suit at least until the PTAB has issued its institution decisions for the Patents-in-Suit—



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decisions which will likely issue no later than February 2022—and (ii) order the parties to

submit further briefing to address whether the entire case should remain stayed within fourteen

days of the last of the institution decisions to issue.

                                                  Respectfully submitted,

 Date: August 27, 2021                            /s/ Gregory F. Corbett
                                                  Gregory F. Corbett (BBO #646394)
                                                  gcorbett@wolfgreenfield.com
                                                  Nathan R. Speed (BBO #670249)
                                                  nspeed@wolfgreenfield.com
                                                  Marie A. McKiernan (BBO #689818)
                                                  mmckiernan@wolfgreenfield.com
                                                  WOLF, GREENFIELD & SACKS, P.C.
                                                  600 Atlantic Avenue
                                                  Boston, MA 02210
                                                  617.646.8000 Phone
                                                  617.646.8646 Fax

                                                  Counsel for Infineon Technologies AG and
                                                  Infineon Technologies Americas Corp.




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                                CERTIFICATE OF SERVICE

        I certify that this document is being filed through the Court’s electronic filing system,
which serves counsel for other parties who are registered participants as identified on the Notice
of Electronic Filing (NEF). Any counsel for other parties who are not registered participants are
being served by first class mail on the date of electronic filing.

Dated: August 27, 2021                               /s/ Gregory F. Corbett
                                                     Gregory F. Corbett
